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                            UNITED STATES DISTRICT COURT
                        DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                       Plaintiff,              Case No. 2:22-cv-00389-DCN

      v.
                                               [PROPOSED] ORDER GRANTING
FOUR SQUAREBIZ, LLC, a Wyoming                 PLAINTIFF’S MOTION FOR
limited liability company, KEITH O.            DEFAULT JUDGMENT
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                       Defendants.


      THIS MATTER came before the Court pursuant to Plaintiff Cody J. Schueler’s Motion

for Default Judgment against Defendants Four SquareBiz, LLC (“Four SquareBiz”) and Keith

O. Crews, individually and the associated marital community comprised thereof (“Defendant

Crews”). Plaintiff is represented by Andrew M. Wagley and Samir Dizdarevic-Miller of

Etter, McMahon, Lamberson, Van Wert & Oreskovich, P.C. This Motion is made pursuant to

Fed. R. Civ. P. 55(b) and is supported by the accompanying Memorandum of Law, including

the points and authorities therein.



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      The Court has reviewed Plaintiff’s Motion for Default Judgment, Memorandum in

Support of Motion for Default Judgment, Declaration of Cody J. Schueler, Declaration of

Andrew M. Wagley, and other pertinent portions of the Court File herein. As such, the Court

is fully informed to rule as indicated herein.

                                           FINDINGS OF FACT

      Based upon the argument and briefing presented, as well as other documents contained

within the Court File, the Court hereby makes the following Findings of Fact:

      (1)      This is a commercial lawsuit stemming from the breach of three Bitcoin Loan

               Agreements executed by Defendants, along with accompanying Personal

               Guarantees. (See ECF No. 1.) Plaintiff Cody J. Schueler filed this lawsuit on

               September 12, 2022. (See id.)

      (2)      Defendant Crews was personally served on September 15, 2022. (See ECF No.

               8.) Defendant Four SquareBiz was served via its registered agent on September

               28, 2022. (See ECF No. 7.) The Court has subject matter jurisdiction over the

               case and personal jurisdiction over the parties.

      (3)      Despite this litigation pending for 11 months, Defendants have failed to formally

               appear, obtain counsel, or demonstrate a meaningful attempt to defend this

               lawsuit. The Clerk entered Defaults against Four SquareBiz and Defendant

               Crews on January 26, 2023. (ECF No. 22.)

      (4)      On April 4, 2023, Defendant Micah Eigler (“Defendant Eigler”) filed Chapter 7

               Bankruptcy, resulting in an automatic stay against Defendant Eigler. (See ECF




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            No. 28.) Plaintiff does not seek Default Judgment against Defendant Eigler

            based upon Defendant Eigler’s Chapter 7 Bankruptcy.

   (5)      As indicated in the Complaint, Defendants “approached Mr. Schueler in early

            2021 regarding the opportunity to invest in the funding and launch of ‘Dstem

            Coin,’ a purportedly new decentralized, blockchain cryptocurrency.” (ECF No.

            1 at 4.) Plaintiff knew Defendants Crews and Eigler “from previous business

            transactions” and Defendant Crews “purported to be the Chief Executive Officer

            (CEO) and Chairman of Four SquareBiz, LLC.” (Id.) Defendants presented

            Plaintiff various documents regarding “Dstem Coin,” including “PowerPoint

            presentations,” industry “White Paper,” and “a Four SquareBiz ‘Co-Venture

            Equity Agreement’ for the funding and launch of Dstem Coin.” (Id.)

   (6)      Based upon such inducement, the parties entered into three “Bitcoin Loan

            Agreements,” whereby Mr. Schueler served as the Lender and Defendants

            Crews and Four SquareBiz were Borrowers. (See ECF No. 1-2 at 1-63.) In

            addition, Defendants Crews executed unconditional and absolute Personal

            Guarantees. (See id.)

   (7)      The first Bitcoin Loan Agreement was executed on March 27, 2021. (See ECF

            No. 1 at 4-5.) “The express purpose of the first Bitcoin Loan Agreement was for

            ‘Borrower to secure equity funding through Trust Funds Capital, Ltd and

            serviced through https://bittrei.io’ for the launch and funding of Dstem Coin.”

            (Id. at 5.) “As part of the inducement to enter into the first Bitcoin Loan

            Agreement, Defendants presented Mr. Schueler with purported documentation



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            from ‘Trust Funds Capital,’” which included “a ‘Digital Private Equity Funding’

            loan as part of the Dstem Coin funding process.” (Id. at 5, 31-37.)

   (8)      Pursuant to the first Bitcoin Loan Agreement, Mr. Schueler disbursed five

            Bitcoins to Defendants on March 27, 2021 via the BTC address referenced in the

            Agreement. At that time, one Bitcoin had a market value of approximately

            $55,973.51.      Defendants never performed under the first Bitcoin Loan

            Agreement and never repaid Mr. Schueler the $279,867.55 principal loaned.

   (9)      The second Bitcoin Loan Agreement was executed on April 26, 2021. (ECF No.

            1 at 6.) “The express purpose of the second Bitcoin Loan Agreement is ‘for the

            Borrower to pay for the Funds Transfer Clearance Code (‘FTCC’) to transfer

            two hundred thirty million dollars ($230,000,000.00)’ associated with the

            funding and launch of Dstem Coin.” (Id.) “As part of the inducement to enter

            into this Agreement, Defendants presented Mr. Schueler with purported

            documentation from ‘Trust Funds Private banking,’” which “requested Mr.

            Crews ‘proceed to pay your Funds Transfer Clearance Code (FTCC) to

            complete your withdrawal’ of $230,000,000 as part of the Dstem Coin funding

            process.” (Id. at 6 and 49.)

   (10)     Under the second Bitcoin Loan Agreement, Mr. Schueler disbursed $363,000 in

            Bitcoin to Defendants on April 26, 2021 via the BTC Wallet address referenced

            in the Agreement. Defendants never performed under the second Bitcoin Loan

            Agreement and never repaid Mr. Schueler the $363,000 in principal loaned.




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   (11)     The third Bitcoin Loan Agreement was entered into on April 29, 2021. (ECF

            No. 1 at 7.) “The express purpose of the third Bitcoin Loan Agreement was for

            ‘the Borrower to pay for HMRC Tax Clearance Pin (‘TCP’) to pay taxes on the

            transfer of Borrower’s loan fund of two hundred million thirty dollars

            ($230,000,000.00)’ associated with the funding of Dstem Coin.” (Id. at 7-8.)

            “As part of the inducement to enter into this Agreement, Defendants presented

            Mr. Schueler with purported documentation of a ‘FTCC payment request from

            TrustFunds Private Bank.’” (Id. at 8.)

   (12)     Pursuant to the third Bitcoin Loan Agreement, Mr. Schueler disbursed $296,100

            in Bitcoin to Defendants on April 29, 2021 via the BTC Wallet address

            referenced in the Agreement.      Defendants never performed under the third

            Bitcoin Loan Agreement and never repaid Mr. Schueler the $296,100 principal

            loaned.

   (13)     As indicated in the Complaint, the documentation from “Trust Funds Capital,”

            “Trust Funds Private banking,” and “TrustFunds Private Bank” Defendants used

            to induce Mr. Schueler to enter into the three Bitcoin Loan Agreements were

            “false, fabricated, and fraudulent.” (ECF No. 1 at 5, 7, and 8.) The information

            associated with these purported entities on the loan documents “is invalid,

            comes back to different entities, or otherwise is not associated with a legitimate

            financial institution.” (Id.) Furthermore, “[n]one of these names are listed with

            the Office of the Comptroller of the Currency, Federal Deposit Insurance

            Corporation (FDIC), Federal Reserve National Information Center, or any



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            pertinent Secretary of State business entity searches.”      (Id. at 10.)    The

            Complaint further alleges that “Dstem Coin is not a legitimate cryptocurrency

            investment.” (Id.) In this vein, Plaintiff alleged that “[a]ll of the information

            and documentation regarding Dstem Coin was created, fabricated, and falsified

            by Defendants to defraud potential investors.” (Id.)

   (14)     The Complaint alleges that “[p]rior to filing this lawsuit, Mr. Schueler made

            multiple, good faith attempts to negotiate a resolution of this matter with

            Defendants and repayment of the funds loaned under the three Bitcoin Loan

            Agreements.” (ECF No. 1 at 9.) Additionally, “Defendants have continually

            promised repayment to Mr. Schueler, but have indicated delays associated with

            other projects.” (Id.)

   (15)     The three Bitcoin Loan Agreements, along with the accompanying Personal

            Guarantees, are governed by Idaho law.

   (16)     Plaintiff may proceed against Defendants Four SquareBiz and Crews, despite

            Defendant Eigler’s Chapter 7 Bankruptcy and associated automatic stay

            pursuant to 11 U.S.C. § 362(a). There is no risk of inconsistent results as all

            Defendants were in Default prior to Defendant Eigler’s Chapter 7 Bankruptcy

            and there is no just reason for delay.

   (17)     The Complaint prays for relief against Defendants, jointly and severally, in the

            form of:

            1.      Any and all damages, including economic damages and the
                    principal loaned, which will reasonably and fairly compensate
                    Plaintiff;



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            2.      Attorneys’ fees and costs of suit, as allowed by the terms of the
                    Agreements, I.C. § 12-120(3), and other applicable laws;
            3.      Pre-judgment and post-judgment interest at the highest rate
                    permitted by law; and
            4.      Such other and further relief as the Court deems just and
                    equitable.

            (ECF No. 1 at 18-19.)

   (18)     Plaintiff disbursed: (1) $279,867.55 in Bitcoin on March 27, 2021 pursuant to

            the first Bitcoin Loan Agreement; (2) $363,000 in Bitcoin on April 26, 2021

            pursuant to the second Bitcoin Loan Agreement; and (3) $296,100 in Bitcoin on

            April 29, 2021 pursuant to the third Bitcoin Loan Agreement. Defendants never

            repaid the principal loaned by Plaintiff.

   (19)     Plaintiff is entitled to recovery of the $938.967.55 principal loaned, plus pre-

            judgment interest and attorneys’ fees.           Plaintiffs’ damages are easily

            ascertainable by simple mathematical calculations. Although the Bitcoin Loan

            Agreements call for a higher interest rate, Plaintiff only seeks recovery of the

            principal loaned plus pre-judgment interest of twelve percent (12%) annually.

            Plaintiff’s calculated interest, predicated upon twelve percent (12%) simple

            interest per annum, is $260,841.76.

   (20)     The Court finds Plaintiff is entitled to Default Judgment against Defendants

            Four SquareBiz and Crews in the aggregate amount of $1,199,809.31.

   (21)     The Agreements at issue allow the recovery of attorneys’ fees and costs by the

            prevailing party. For the reasons indicated, Plaintiff is the prevailing party.




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     (22)



                                                                                             .

                                    CONCLUSIONS OF LAW

     Based upon the foregoing Findings of Fact, the Court hereby enters the following

Conclusions of Law:

     (1)      Default Judgment is warranted against Defendants Four SquareBiz and Crews

              based upon the analysis articulated in Eitel v. McCool, 782 F.2d 1470 (9th Cir.

              1986), and its progeny.

     (2)      The Court has subject matter jurisdiction over the case and personal jurisdiction

              over the parties, as required to enter this Default Judgment. Defendants Four

              SquareBiz and Crews were properly served process pursuant to Fed. R. Civ. P.

              4. The Court has jurisdiction pursuant to Idaho’s long arm statute (I.C. § 5-514),

              Due Process requirements, and the forum selection clause in the Agreements.

     (3)      When considering a motion for default judgment, the factual allegations of the

              complaint, except those relating to the amount of damages, will be taken as true.

     (4)      The totality of the Eitel Factors warrant entry of the requested Default

              Judgment. In particular, the Court makes the following specific findings and

              conclusions:

              (a)     The first Eitel factor is “the possibility of prejudice to the plaintiff.” 782

                      F.2d at 1472. Defendants are not participating in this litigation, denying

                      Plaintiff the right to judicial resolution of the claims. As Plaintiff has no



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                    apparent legal remedy nor recourse against Defendants outside of this

                    litigation, this factor supports the requested Default Judgment.

            (b)     The second and third Eitel Factors are “(2) the merits of plaintiff’s

                    substantive claim[s]” and “(3) the sufficiency of the complaint.” 782

                    F.2d at 1471. Under this analysis, the well-pleaded allegations of the

                    Complaint are taken as true and the Court determines whether Plaintiff

                    has stated a claim upon which relief may be granted. When sitting in

                    diversity, the Court considers the substantive law of the forum state

                    (Idaho) in determining whether Plaintiff has stated a claim. Based upon

                    the Complaint and the Defaults, Plaintiff has stated the following claims

                    and causes of action: (i) Breach of Contract; (ii) Breach of Personal

                    Guarantees; (iii) Breach of Good Faith and Fair Dealing; (iv)

                    Conversion; (v) Fraud; and (vi) Civil Conspiracy.           In relation to

                    Defendant Crews, Plaintiff has pled adequate causes of action to warrant

                    a Default Judgment against the marital community of Defendant Crews.

            (c)     The fourth Eitel Factor is “the sum of money at stake in the action.” 782

                    F.2d at 1471. Although Plaintiff is seeking a Default Judgment in excess

                    of $1,000,000, this amount is directly proportional to the harm incurred.

                    This Eitel factor does not preclude the requested Default Judgment.

            (d)     The fifth Eitel Factor is “the possibility of a dispute concerning material

                    facts.”    782 F.2d at 1471-72.      Defendants were properly served,




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                    subsequently placed in Default for failing to appear, and as such, have in

                    essence admitted no dispute concerning material facts exists.

           (e)      The sixth Eitel Factor is “whether the default was due to excusable

                    neglect.” 782 F.2d at 1472. Defendants Crews and Four SquareBiz have

                    been in default since January 26, 2023. Defendants have been provided

                    notice of all proceedings in this matter (including this Motion for Default

                    Judgment), yet have failed to formally appear and defend. Defendants’

                    respective Defaults are not the result of excusable neglect.

           (f)      Finally, the seventh Eitel Factor is “the strong policy underlying the

                    Federal Rules of Civil Procedure favoring decisions on the merits.” 782

                    F.2d at 1472. Although policy disfavors default, where a defendant

                    wholly fails to respond to the complaint a decision on the merits

                    becomes impractical, if not impossible, and the default mechanism is

                    necessary to deal with wholly unresponsive parties who otherwise could

                    cause the justice system to grind to a halt. Defendants have ignored this

                    litigation and the requested Default Judgment is Plaintiff’s only remedy.

                    On aggregate, the Eitel factors warrant entry of the Default Judgment.

   (5)     After the Court determines that a default judgment is warranted, it must then

           consider the appropriate remedy for each claim. “A default judgment must not

           differ in kind from, or exceed in amount, what is demanded in the pleadings.”

           Fed. R. Civ. P. 54(c).




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     (6)     Default Judgment in the amount of $1,199,809.31, comprised of $938,967.55 in

             principal and $260,841.76 in reasonable interest, is appropriate and warranted

             against Defendants Four SquareBiz and Crews.

     (7)     As Plaintiff is entitled to costs and attorneys’ fees in obtaining this Default

             Judgment, Plaintiff may submit a Motion for Attorneys’ Fees and Costs under

             District of Idaho Local Civil Rule 54.2(b) fourteen (14) days after entry of

             judgment.

     (8)



                                                                                        .

                      ORDER GRANTING DEFAULT JUDGMENT

     Based upon the foregoing Findings of Fact and Conclusions of Law, it is hereby

ORDERED, ADJUDGED, AND DECREED as follows:

     (1)     Plaintiff’s Motion for Default Judgment is GRANTED.

     (2)     The Court hereby ENTERS DEFAULT JUDGMENT in favor of Plaintiff,

             Cody J. Schueler, and against Defendants Four SquareBiz, LLC and Keith O.

             Crews (an individual and his associated marital community), jointly and

             severally, in the amount of $1,199,809.31, comprised of $938,967.55 in

             principal and $260,841.76 in reasonable interest.

     (3)     Interest SHALL ACCRUE on this Default Judgment at the rate of twelve

             percent (12%) simple interest per annum as of the date of this Judgment.




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      (4)     Pursuant to Rule 54.2(b), Plaintiff shall submit his Motion for Attorneys’ Fees

              and Costs within fourteen (14) days after entry of this Judgment.

      (5)     The Clerk is hereby DIRECTED TO ENTER Judgment consistent with this

              Order.

      (6)



                                                                                       .

      It is so ORDERED this                day of August, 2023.




                                                HONORABLE DAVID C. NYE
                                                UNITED STATES DISTRICT COURT JUDGE
                                                DISTRICT OF IDAHO

Presented By:

ETTER, McMAHON, LAMBERSON,
 VAN WERT & ORESKOVICH, P.C.


By: /s/ Andrew M. Wagley
  Andrew M. Wagley, ISB #10277
  Samir Dizdarevic-Miller, ISB #11471
  Attorneys for Plaintiff Cody J. Schueler




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                                CERTIFICATE OF SERVICE

     The undersigned certifies, under penalty of perjury of the laws of the United States, that

on the date given below, I caused to be served in the manner noted copies of the foregoing

document upon the following parties:

    Keith Crews                                       U.S. Mail
    1503 Scenic Overlook Court                        Facsimile
    Kennesaw, GA 30152                                E-Mail
                                                      Via Hand Delivery

    Four SquareBiz, LLC                               U.S. Mail
    C/o Registered Agents Inc.                        Facsimile
    30 North Gould Street, Suite R                    E-Mail
    Sheridan, WY 82801                                Via Hand Delivery


     EXECUTED this 11th day of August, 2023 in Spokane, Washington.


                                      By: /s/ Jodi Dineen
                                         Jodi Dineen




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